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UNiTED STATES DisTRlcT CouRT
MlDDLE DisTRlcT oF FLoRiDA
ORLANDo DivlsioN

UNITED STATES OF AMERICA
-vs- Case No. 6:08-cr-l 10-01'1-19DAB

XIOMARA PINZON

 

REPoRT AND REcoMMENDATioN
CoNcERNiNG PLEA OF GulLTY

The Defendant, by consent, has appeared before me pursuant to Rule l 1. F.R.Cr.P. and Rule
6.01(€)(12), Middle District ofFlorida Local Rules. and has entered a plea of guilty to Count One of
the Information. After cautioning and examining the Defendant under oath concerning each of the
subjects mentioned in Rule 1 l, I determined that the guilty plea Was knowledgeable and voluntary and
that the offenses charged are supported by an independent basis in fact containing each of the essential
elements of such offense. I therefore recommend that the plea agreement and the plea of guilty be
accepted and that the Defendant be adjudged guilty and have sentence imposed accordingly. The
Defendant remains on conditions of release pending sentencing

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UNi./BAKER
UNiTED STATES MAGISTRATE IUDGE

NOTICE
Failure to file written objections to this Report and Recommendation within ten (lO) days from the
date of its service shall bar an aggrieved party from attacking such Report and Recommendation before the
assigned United States District Judge. 28 U.S.C. Section 636(b)(1)(B). Rule 6.02 Middle District ofFlorida
Local Rules.

Copies furnished to:

Presiding District Judge. Courtroom Deputy, United States Attomey` United States Probation Off`ice. Counsel
for Defendant

 

